     Case 1:25-cv-00286-RCL           Document 11-2       Filed 02/03/25      Page 1 of 18




      U.S. Department of Justice
      Federal Bureau of Prisons

CHANGE NOTICE
OPI:    RSD/WSP
NUMBER: 5200.04 CN-1
DATE:   May 11, 2018


Transgender Offender Manual


Approved: Mark S. Inch
Director, Federal Bureau of Prisons

This Change Notice (CN) implements the following change to Program Statement 5200.04,
Transgender Offender Manual, dated January 18, 2017. The purpose of the Change Notice is
to ensure that the Transgender Executive Council (TEC) considers issues related to prison
management and security in determining appropriate housing of transgender inmates, including
risks posed to staff, other inmates, and members of the public. The clarifications to policy will
establish appropriate expectations for the inmate population concerning designations.

The changes are marked with a highlight and inserted into the policy. Deleted text is struck
through. In addition, the branch name has been changed from Female Offender Branch to
Women and Special Populations Branch.

1. PURPOSE AND SCOPE

To ensure the Bureau of Prisons (Bureau) properly identifies, tracks, and provides services to the
transgender population, consistent with maintaining security and good order in Federal prisons.

4. STAFF TRAINING

The Women and Special Populations Branch will be responsible for developing training
materials and current information on the management of transgender inmates. Training will
include information concerning best practices for maintaining the safety of transgender inmates,
while also ensuring security and good order in Federal prisons and the safety of staff, inmates,
and the public. This information will be made available to staff on the Women and Special
Populations Branch Sallyport page.
      Case 1:25-cv-00286-RCL          Document 11-2         Filed 02/03/25      Page 2 of 18




5. INITIAL DESIGNATIONS

The TEC will consider factors including, but not limited to, an inmate’s security level, criminal
and disciplinary history, current gender expression, medical and mental health
needs/information, vulnerability to sexual victimization, and likelihood of perpetrating abuse.
The TEC may also consider facility-specific factors, including inmate populations, staffing
patterns, and physical layouts (e.g., types of showers available). The TEC will recommend
housing by gender identity when appropriate.

In deciding the facility assignment for a transgender or intersex inmate, the TEC should make the
following assessments on a case-by-case basis:

■ The TEC will use biological sex as the initial determination for designation;
■ The TEC will consider the health and safety of the transgender inmate, exploring appropriate
  options available to assist with mitigating risk to the transgender offender, to include but not
  limited to cell and/or unit assignments, application of management variables, programming
  missions of the facility, etc.;
■ The TEC will consider factors specific to the transgender inmate, such as behavioral history,
  overall demeanor, and likely interactions with other inmates; and
■ The TEC will consider whether placement would threaten the management and security of
  the institution and/or pose a risk to other inmates in the institution (e.g., considering inmates
  with histories of trauma, privacy concerns, etc.).

The designation to a facility of the inmate’s identified gender would be appropriate only in rare
cases after consideration of all of the above factors and where there has been significant progress
towards transition as demonstrated by medical and mental health history.

It will be noted in SENTRY designation notes that the TEC reviewed the inmate for appropriate
institution designation.

7. HOUSING AND PROGRAMMING ASSIGNMENTS

In order for an inmate to be considered for transfer to another institution of the same sex as the
inmate’s current facility location, including a facility housing individuals of the inmate’s
identified gender, the Warden should consult with the TEC prior to submitting a designation
request to the DSCC, but this is not required.

In addition, the Warden may make a recommendation to the TEC to transfer a transgender or
intersex inmate based on an inmate’s identified gender.
     Case 1:25-cv-00286-RCL           Document 11-2        Filed 02/03/25      Page 3 of 18




In considering such recommendations, the TEC will apply all criteria of Section 5, above, and
make the following assessments concerning the recommendation:

■ The TEC will use biological sex as the initial determination for designation;
■ The TEC will consider the health and safety of the transgender inmate, exploring appropriate
  options available to assist with mitigating risk to the transgender offender, to include but not
  limited to cell and/or unit assignments, application of management variables, programming
  missions of the facility, re-designation to another facility of the same sex, etc.;
■ The TEC will also consider factors specific to the transgender inmate, such as behavioral
  history, overall demeanor, program participation, and likely interactions with other inmates;
  and
■ The TEC will consider whether placement would threaten the management and security of
  the institution and/or pose a risk to other inmates in the institution (e.g., considering inmates
  with histories of trauma, privacy concerns, etc.).


The designation to a facility of the inmate’s identified gender would be appropriate only in rare
cases after consideration of all of the above factors and where there has been significant progress
towards transition as demonstrated by medical and mental health history, as well as positive
institution adjustments.

It will be noted in SENTRY designation notes that the TEC reviewed the inmate for appropriate
institution designation.

9. HORMONE AND NECESSARY MEDICAL TREATMENT

Hormone or other necessary medical treatment may be provided after an individualized
assessment of the requested inmate by institution medical staff. Medical staff should request
consultation from Psychology Services regarding the mental health benefits of hormone or other
necessary medical treatment. If appropriate for the inmate, hormone treatment will be provided
in accordance with the Program Statement Patient Care and relevant clinical guidance.
Questions concerning hormone treatment may be referred to the TCCT.
     Case 1:25-cv-00286-RCL           Document 11-2       Filed 02/03/25      Page 4 of 18




       U.S. Department of Justice
       Federal Bureau of Prisons

PROGRAM STATEMENT
OPI:    RSD/FOB
NUMBER: 5200.04
DATE:   January 18, 2017


Transgender Offender Manual

       /s/
Approved: Thomas R. Kane
Acting Director, Federal Bureau of Prisons

1. PURPOSE AND SCOPE

To ensure the Bureau of Prisons (Bureau) properly identifies, tracks, and provides services to the
transgender population, consistent with maintaining security and good order in Federal prisons.

a. Program Objectives. Expected results of this program are:

■ This policy is meant to provide guidance to staff in dealing with the unique issues that arise
  when working with transgender inmates.
■ Institutions ensure transgender inmates can access programs and services that meet their
  needs as appropriate, and prepare them to return to the community.
■ Sufficient resources will be allocated to deliver appropriate services to transgender inmates.
■ Staff will be offered training, enabling them to work effectively with transgender inmates.
■ To support staff’s understanding of the increased risk of suicide, mental health issues and
  victimization of transgender inmates.

b. Institution Supplement. None required. Should local facilities make any changes outside
changes required in national policy or establish any additional local procedures to implement
national policy, the local Union may invoke to negotiate procedures or appropriate arrangements.

2. DEFINITIONS

Gender – a construct used to classify a person as male, female, both, or neither. Gender
encompasses aspects of social identity, psychological identity, and human behavior.
      Case 1:25-cv-00286-RCL          Document 11-2        Filed 02/03/25       Page 5 of 18




Gender identity – a person’s sense of their own gender, which is communicated to others by their
gender expression.

Gender expression – includes mannerisms, clothing, hair style, and choice of activities.

Gender nonconforming – a person whose appearance or manner does not conform to traditional
societal gender expectations.

Transgender – the state of one’s gender identity not matching one’s biological sex. For the
purposes of this policy, a transgender inmate is one who has met with a Bureau of Prisons
psychologist and signed the form indicating consent to be identified within the agency as
transgender. This step allows for accommodations to be considered.

Cisgender – the state of one’s gender identity matching one’s biological sex.

Sexual orientation – the direction of one’s sexual interest towards members of the same,
opposite, or both genders (e.g., heterosexual, homosexual, bisexual, asexual). Sexual orientation
and gender identity are not related.

Gender Dysphoria (GD) – a mental health diagnosis currently defined by DSM-5 as, “A strong
and persistent cross-gender identification. It is manifested by a stated desire to be the opposite
sex and persistent discomfort with his or her biologically assigned sex.” Not all transgender
inmates will have a diagnosis of GD, and a diagnosis of GD is not required for an individual to
be provided services.

Intersex – a person whose sexual or reproductive anatomy or chromosomal pattern does not seem
to fit typical biological definitions of male or female. Not all intersex people identify as
transgender; unless otherwise specified, this policy does not apply to intersex people who do not
identify as transgender.

Transition – measures that change one’s gender expression or body to better reflect a person’s
gender identity.

3. STAFF RESPONSIBILITIES

The following Bureau components are responsible for ensuring consistent establishment of the
programs, services, and resource allocations necessary for transgender offenders.




P5200.04 1/18/2017                                                                                   2
      Case 1:25-cv-00286-RCL         Document 11-2        Filed 02/03/25     Page 6 of 18




a. Central Office

(1) The Women and Special Populations Branch is the agency’s primary source and point of
contact on classification, management, and intervention programs and practices for transgender
inmates in Bureau custody. The Branch is responsible for the following functions as they relate
to transgender inmates:

■ Engaging stakeholders, including serving as the primary point of contact on issues affecting
  transgender inmates with judges, political figures, and advocacy groups.
■ Ensuring the Bureau offers appropriate services to transgender inmates.
■ Preparing budgetary requests to deliver national and pilot programs or services affecting
  transgender inmates.
■ Providing guidance and direction to Regional staff and institution leadership on transgender
  issues.
■ Developing and implementing staff training on transgender issues.
■ Building a research-based foundation for the Bureau’s work with transgender inmates.
■ Presenting at internal and external conferences/events regarding the agency’s transgender
  inmates’ practices.
■ Developing and monitoring monthly reports on the transgender population and institutional
  programs.
■ Issuing an annual report on the state of transgender offenders in the Bureau that will be made
  available to all staff and stakeholders.
■ Advising agency leadership on transgender inmate needs.
■ Conducting an annual survey of transgender inmates in the Bureau and sharing results with
  internal and external stakeholders.
■ Providing national oversight of pilot programs and initiatives serving transgender offenders.

(2) The Health Services Division oversees all medical and psychiatric activity as it applies to
transgender inmates. Guidance on the most current research-driven clinical medical and
psychiatric care of transgender inmates will be provided by the Medical Director.

The Health Services Division also has oversight of a Transgender Clinical Care Team (TCCT).
This team will be comprised of Physicians, Pharmacists, and Psychiatrists. Social Workers,
Psychologists, and other clinical providers can also be included when appropriate. The TCCT
will offer advice and guidance to health services staff on the medical treatment of transgender
inmates and/or inmates with GD. Medical staff can raise issues to the TCCT through the Health
Services Division.

(3) The Psychology Services Branch oversees all psychological mental health programs and
services as they apply to transgender inmates, to include providing advice and guidance on


P5200.04 1/18/2017                                                                                3
      Case 1:25-cv-00286-RCL         Document 11-2       Filed 02/03/25     Page 7 of 18




identification and evaluation of transgender inmates, and making recommendations for treatment
needs of transgender inmates and/or inmates with GD.

(4) Central Office Branches/Divisions of Correctional Services, Psychology Services,
Education, Correctional Programs, Reentry Affairs, Residential Reentry Management, Health
Services, Health Programs, Social Work, Office of General Counsel, and Trust Fund meet
annually with the Women and Special Populations Branch to discuss transgender population
needs and evaluate current gender-responsive services. The National Union and the Central
Office LGBT Special Emphasis Program Manager will be invited to attend these meetings.

(5) The Transgender Executive Council (TEC) will consist of staff members from the Health
Services Division, the Women and Special Populations Branch, Psychology Services, the
Correctional Programs Division, the Designation and Sentence Computation Center (DSCC), and
the Office of General Counsel. The TEC will meet a minimum of quarterly to offer advice and
guidance on unique measures related to treatment and management needs of transgender inmates
and/or inmates with GD, including designation issues. Institution staff and DSCC staff may raise
issues on specific inmates to the TEC through the Women and Special Populations Branch. The
National PREA Coordinator is consulted as needed.

b. Regional Offices

■ Provide oversight to institutions regarding services and other relevant trends managing
  transgender inmates.
■ Assign transgender responsibilities to the Regional Female Offender/Transgender
  Coordinator Collateral Duty Assignment. This individual meets quarterly with the Women
  and Special Populations Branch to discuss staffing and programming needs.

c. Institutions

The institution CEO will establish a multi-disciplinary approach to the management of
transgender inmates; specifically:
■ Ensure transgender inmates have access to services.
■ Enter tracking information for self-identified transgender inmates by updating SENTRY and
    other databases (e.g., PDS), as appropriate.
■ Provide appropriate reentry resources that may be specific to the population.
■ Advise the Local Union of transgender inmate management issues, as appropriate.




P5200.04 1/18/2017                                                                             4
      Case 1:25-cv-00286-RCL         Document 11-2        Filed 02/03/25     Page 8 of 18




4. STAFF TRAINING

Staff will be provided specialized training in working with unique issues when managing
transgender inmates, with refresher training at annual training. Institutions housing known
transgender inmates should provide additional training, if needed.

The Women and Special Populations Branch will be responsible for developing training
materials and current information on the management of transgender inmates. Training will
include information concerning best practices for maintaining the safety of transgender inmates,
while also ensuring security and good order in Federal prisons and the safety of staff, inmates,
and the public. This information will be made available to staff on the Women and Special
Populations Branch Sallyport page.

In addition, the Prison Rape Elimination Act (PREA) regulations incorporated into the BOP
Program Statement Sexually Abusive Behavior Prevention and Intervention Program have
training requirements concerning pat searches and communication skills for transgender inmates.
See 28 C.F.R. § 115.15(f) and 115.31 (a) (9). Please refer to this Program Statement regarding
implementation of those training requirements.

Staff will be provided adequate time to complete these trainings during duty hours.

5. INITIAL DESIGNATIONS

The PREA regulations, incorporated into the Program Statement Sexually Abusive Behavior
Prevention and Intervention Program, state in section 28 C.F.R. § 115.42 (c):

    “In deciding whether to assign a transgender or intersex inmate to a facility for
    male or female inmates…the agency shall consider on a case-by-case basis
    whether a placement would ensure the inmate’s health and safety, and
    whether the placement would present management or security problems.”

Upon receipt of information from a Pre-Sentence Report, court order, U.S. Attorney’s Office,
defense counsel, the offender, or other source that an individual entering BOP custody is
transgender, designations staff will refer the matter to the TEC for advice and guidance on
designation.

Institution staff managing pretrial or holdover offenders may also refer cases to the TEC for
review. Any TEC recommendations concerning pretrial inmates will be coordinated with the
appropriate United States Marshal’s Office.



P5200.04 1/18/2017                                                                                 5
      Case 1:25-cv-00286-RCL          Document 11-2        Filed 02/03/25      Page 9 of 18




The TEC will consider factors including, but not limited to, an inmate’s security level, criminal
and disciplinary history, current gender expression, medical and mental health
needs/information, vulnerability to sexual victimization, and likelihood of perpetrating abuse.
The TEC may also consider facility-specific factors, including inmate populations, staffing
patterns, and physical layouts (e.g., types of showers available). The TEC will recommend
housing by gender identity when appropriate.

In deciding the facility assignment for a transgender or intersex inmate, the TEC should make the
following assessments on a case-by-case basis:

■ The TEC will use biological sex as the initial determination for designation;
■ The TEC will consider the health and safety of the transgender inmate, exploring appropriate
  options available to assist with mitigating risk to the transgender offender, to include but not
  limited to cell and/or unit assignments, application of management variables, programming
  missions of the facility, etc.;
■ The TEC will consider factors specific to the transgender inmate, such as behavioral history,
  overall demeanor, and likely interactions with other inmates; and
■ The TEC will consider whether placement would threaten the management and security of
  the institution and/or pose a risk to other inmates in the institution (e.g., considering inmates
  with histories of trauma, privacy concerns, etc.).

The designation to a facility of the inmate’s identified gender would be appropriate only in rare
cases after consideration of all of the above factors and where there has been significant progress
towards transition as demonstrated by medical and mental health history.

It will be noted in SENTRY designation notes that the TEC reviewed the inmate for appropriate
institution designation.

6. INTAKE SCREENING

The PREA regulations in 28 C.F.R. part 115, Subpart A, incorporated into the Program
Statement Sexually Abusive Behavior Prevention and Intervention Program and the Program
Statement Intake Screening, address intake screening. Screening of transgender inmates will be
conducted in accordance with these policies and all other applicable policies and procedures.

7. HOUSING AND PROGRAMMING ASSIGNMENTS

During Initial classification and Program Reviews, Unit Management staff will twice-yearly
review the inmate(s) current housing unit status and programming available for transgender
inmates; this review will be documented by Unit Management.


P5200.04 1/18/2017                                                                                  6
     Case 1:25-cv-00286-RCL           Document 11-2        Filed 02/03/25      Page 10 of 18




The reviews will consider on a case-by-case basis that the inmate placement does not jeopardize
the inmate’s health and safety and does not present management or security concerns.

In making housing unit and programming assignments, a transgender or intersex inmate’s own
views with respect to his/her own safety must be given serious consideration.

Transgender inmates shall be given the opportunity to shower separate from other inmates.

The agency shall not place transgender or intersex inmates in dedicated facilities, units, or wings
solely on the basis of such identification or status, unless such placement is in a dedicated
facility, unit, or wing established in connection with a consent decree , legal settlement, or legal
judgment for the purpose of protecting such inmates.

In order for an inmate to be considered for transfer to another institution of the same sex as the
inmate’s current facility location, including a facility housing individuals of the inmate’s
identified gender, the Warden should consult with the TEC prior to submitting a designation
request to the DSCC, but this is not required.

In addition, the Warden may make a recommendation to the TEC to transfer a transgender or
intersex inmate based on an inmate’s identified gender.

In considering such recommendations, the TEC will apply all criteria of Section 5, above, and
make the following assessments concerning the recommendation:

■ The TEC will use biological sex as the initial determination for designation;
■ The TEC will consider the health and safety of the transgender inmate, exploring appropriate
  options available to assist with mitigating risk to the transgender offender, to include but not
  limited to cell and/or unit assignments, application of management variables, programming
  missions of the facility, re-designation to another facility of the same sex, etc.;
■ The TEC will also consider factors specific to the transgender inmate, such as behavioral
  history, overall demeanor, program participation, and likely interactions with other inmates;
  and
■ The TEC will consider whether placement would threaten the management and security of
  the institution and/or pose a risk to other inmates in the institution (e.g., considering inmates
  with histories of trauma, privacy concerns, etc.).

The designation to a facility of the inmate’s identified gender would be appropriate only in rare
cases after consideration of all of the above factors and where there has been significant progress



P5200.04 1/18/2017                                                                                   7
     Case 1:25-cv-00286-RCL          Document 11-2        Filed 02/03/25      Page 11 of 18




towards transition as demonstrated by medical and mental health history, as well as positive
institution adjustments.

It will be noted in SENTRY designation notes that the TEC reviewed the inmate for appropriate
institution designation.

8. DOCUMENTATION AND SENTRY ASSIGNMENTS

a. Medical and Mental Health Information. Medical and mental health information for
transgender inmates will be maintained in the current electronic recordkeeping system in
accordance with the Program Statement Health Information Management. Medical and
mental health information is considered confidential, and may only be released in accordance
with appropriate laws, rules, and regulations.

b. Initial Screening. For initial designations, designations staff will assign Case Management
Activity (CMA) SENTRY assignments if information in the PSR or other documentation
indicates a likely transgender identity. The screening codes will be:

        SCRN M2F – inmate should be screened for male to female.
        SCRN F2M – inmate should be screened for female to male.

Any inmate arriving at the designated institution with a screening code is to be referred to the
Chief Psychologist or designee for review within 14 days. If the code was assigned in error, the
screening code will be removed by the psychologist. If the inmate identifies as transgender, the
psychologist will replace the screening code with an identifying code, as indicated below.
Holdover facilities will be exempt from this initial screening requirement, as limited available
records and brevity of stay do not allow for a comprehensive screening.

Any inmate who arrives without a screening code but identifies as transgender during intake, or
at any time during the incarceration period, is referred to the Chief Psychologist or designee and
interviewed within 14 days of the inmate notification. Inmates in pretrial status at Bureau
facilities may also receive a SENTRY code.

c. Notification to Staff and Tracking. After consultation with Psychology Services, and if the
inmate affirms his/her transgender identity, the screening code will be updated to a permanent
assignment by a psychologist:

        TRN M2F – inmate is male to female transgender (transgender female).
        TRN F2M – inmate is a female to male transgender (transgender male).



P5200.04 1/18/2017                                                                                   8
     Case 1:25-cv-00286-RCL           Document 11-2        Filed 02/03/25      Page 12 of 18




The inmate must request to Psychology Services staff that the CMA assignment be entered, and
the inmate consents that all staff will therefore be notified that the individual is transgender. The
inmate’s request will be documented on BP-A1110, Case Management Activity (CMA)
SENTRY Assignment Consent Form for Transgender Inmates (included as Attachment A to this
policy). Psychology Services will maintain the form in the electronic mental health record and
forward a copy of the form to the Unit Team. The Unit Team will maintain the form in the FOI
Exempt section of the Central File.

Staff should consult the CMA assignment when interacting with the inmate; e.g., use of
pronouns, searches, commissary items, etc., as indicated below.

If there are questions about the need to continue a CMA assignment, the Warden should contact
the Women and Special Populations Branch. Should the CMA assignment change, staff
members will not be disciplined for the continued provision of accommodations or use of
pronouns.

9. HORMONE AND NECESSARY MEDICAL TREATMENT

Hormone or other necessary medical treatment may be provided after an individualized
assessment of the requested inmate by institution medical staff. Medical staff should request
consultation from Psychology Services regarding the mental health benefits of hormone or other
necessary medical treatment. If appropriate for the inmate, hormone treatment will be provided
in accordance with the Program Statement Patient Care and relevant clinical guidance.
Questions concerning hormone treatment may be referred to the TCCT.

In the event this treatment changes the inmate’s appearance to the extent a new identification
card is needed, the inmate will not be charged for the identification card.

10. INSTITUTION PSYCHOLOGY SERVICES

Bureau psychologists are available to provide assessment and treatment services for transgender
inmates, if appropriate. Guidance on assessment procedures will be provided by the Psychology
Services Branch.

If an inmate identifies as transgender, the psychologist will provide the inmate with information
regarding the range of treatment options available in the Bureau and their implications. In
addition, based upon the psychologist’s preliminary assessment and the inmate’s expressed
interest, a referral to the Clinical Director and/or Chief Psychiatrist may be generated. While the
initial interview must be scheduled within 14 days, an assessment may take longer in some
instances.


P5200.04 1/18/2017                                                                                  9
     Case 1:25-cv-00286-RCL          Document 11-2        Filed 02/03/25      Page 13 of 18




In addition to a referral to medical services, a transgender inmate may be offered individual
psychotherapy. Individual psychotherapy goals might include: (1) helping the inmate to live
more comfortably within a gender identity and deal effectively with non-gender issues; (2)
emphasizing the need to set realistic life goals related to daily living, work, and relationships,
including family of origin; (3) seeking to define and address issues that may have undermined a
stable lifestyle, such as substance abuse and/or criminality; and (4) addressing any co-occurring
mental health issues. Mood disorders, anxiety disorders, substance use disorders, and personality
disorders, etc., may also be present; any effective treatment plan will fully address these
symptoms.

If an institution has multiple transgender inmates, a support group facilitated by a mental health
provider may also be a component of the treatment plan. Common concerns of transgender
inmates, which may be addressed effectively in a group setting, include self-esteem issues and
relationship issues.

Psychologists who provide mental health treatment for transgender inmates address all mental
health needs, including suicide risk, if present.

Psychologists working with transgender inmates are encouraged to consult the Reentry Services
Division in Central Office for additional resources.

11. PRONOUNS AND NAMES

Staff interacting with inmates who have a CMA assignment of transgender can use the
authorized gender-neutral communication with inmates (e.g., by the legal last name or “Inmate”
last name). Transgender inmates often prefer to be called by pronouns of their identified gender
identity. Staff may choose to use these gender-specific pronouns or salutations per the inmate’s
request, and will not be disciplined for doing so.

An official committed name change while in BOP custody must be done consistent with the
Program Statement Correctional Systems Manual, Chapter 4. The name entered on the
inmate’s Judgement and Commitment Order will remain the official committed name for all
Bureau records (incident reports, progress reviews, sentence calculations, etc.). However, any
additional names or aliases can be entered into SENTRY as appropriate.




P5200.04 1/18/2017                                                                                   10
     Case 1:25-cv-00286-RCL          Document 11-2        Filed 02/03/25      Page 14 of 18




12. PAT SEARCHES

Pat searches of transgender inmates will be conducted in accordance with the Program Statement
Searches of Housing Units, Inmates, and Inmate Work Areas. The policy language, included
here as a reference, states:

 “Transgender Inmates – For purposes of pat searching, inmates will be pat-searched in
accordance with the gender of the institution, or housing assignment, in which they are assigned.
Transgender inmates may request an exception. The exception must be pre-authorized by the
Warden, after consultation with staff from Health Services, Psychology Services, Unit
Management, and Correctional Services. Exceptions must be specifically described (e.g., “pat
search only by female staff”), clearly communicated to relevant staff through a memorandum,
and reflected in SENTRY (or other Bureau database; e.g., posted picture file). Inmates should be
provided a personal identifier (e.g., notation on commissary card, etc.) that indicates their
individual exception, to be carried at all times and presented to staff prior to pat searches.”

It is recommended the inmate request the exception by submitting an Inmate Request to Staff
(BP-A0148) to the Warden. The Warden will consult with the departments listed above, and the
memo approving or denying the request will be generated by the Warden’s Office.

Inmates who are granted this exception under policy may have it reversed by the Warden if
found to have violated institution rules concerning contraband.

In exigent circumstances, any staff member may conduct a pat search of any inmate consistent
with the Program Statement Searches of Housing Units, Inmates, and Inmate Work Areas.

13. VISUAL SEARCHES

For purposes of a visual search, inmates will be searched in accordance with the gender of the
institution, or housing assignment, to which they are assigned. The visual search shall be made in
a manner designed to ensure as much privacy to the inmate as practicable. Staff should consider the
physical layout of the institution, and the characteristics of an inmate with a transgender CMA
assignment, to adjust conditions of the visual search as needed for the inmate’s privacy.

Transgender inmates may also request an exception to be visually searched by a staff member of
the inmate’s identified gender. The exception must be pre-authorized by the Warden, after
consultation with staff from Health Services, Psychology Services, Unit Management, and
Correctional Services. Exceptions must be specifically described (e.g., “visual search only by
female staff”), clearly communicated to relevant staff through a memorandum, and reflected in
SENTRY (or other Bureau database; e.g., posted picture file). Inmates should be provided a


P5200.04 1/18/2017                                                                               11
     Case 1:25-cv-00286-RCL           Document 11-2         Filed 02/03/25      Page 15 of 18




personal identifier (e.g., notation on commissary card, etc.) that indicates their individual
exception, to be carried at all times and presented to staff prior to visual searches.

It is recommended the inmate request the exception by submitting an Inmate Request to Staff
(BP-A0148) to the Warden. The Warden will consult with the departments listed above, and the
memo approving or denying the request will be generated by the Warden’s Office.

Inmates who are granted this exception under policy may have it reversed by the Warden if
found to have violated institution rules concerning contraband.

Transgender inmates placed at an institution or in a housing unit that does not correspond with
their identified gender, and who are granted an exemption as indicated above, will be searched
by: bargaining unit staff of the inmate’s identified gender who consent to participate in the
search; management staff of the inmate’s identified gender who consent to participate in the
search; or available Health Services clinical staff.

Transgender inmates placed at an institution or in a housing unit of their identified gender will be
searched by bargaining unit staff of the inmate’s identified gender who consent to participate in
the search; management staff of the inmate’s identified gender; or available medical staff.

Institutions should consider using available body scanning technology in lieu of visual searches
of transgender inmates.

In exigent circumstances, any staff member may conduct a visual search of any inmate consistent
with the Program Statement Searches of Housing Units, Inmates, and Inmate Work Areas.

14. CLOTHING AND COMMISSARY ITEMS

Consistent with safety and security concerns, inmates with the CMA assignment of transgender
will have the opportunity to have undergarments of their identified gender even if they are not
housed with inmates of the identified gender. Institutional laundry will have available
institutional undergarments that fulfill the needs of transgender inmates. Undergarments will not
have metal components.

Standardized lists of Commissary items for transgender inmates are available in accordance with
the Program Statement Trust Fund/Deposit Manual.

Additional items based on an individualized assessment of the transgender inmate may be
approved by the Warden. Additional items may be provided by the institution or purchased by
the inmate, as appropriate.


P5200.04 1/18/2017                                                                                 12
     Case 1:25-cv-00286-RCL          Document 11-2        Filed 02/03/25      Page 16 of 18




Inmates who purchase and/or are provided items under this section will be subject to disciplinary
sanctions, including the removal of these items, if they are found to have violated institution
rules relating to the possession of these items.

15. REENTRY NEEDS

In accordance with the Program Statement Release Preparation Program, institution staff
should assist transgender inmates in addressing these issues prior to release or placement in a
Residential Reentry Center/Home Confinement.

During initial classifications and Program Reviews, Unit Management will formulate a pre-
release plan that will assist transgender inmates in obtaining appropriate identification, finding
housing and employment, and providing community resources to reintegrate into the community.

The Reentry Affairs Coordinator may assist staff with identifying these resources. Institution
and/or Regional Social Workers should be contacted concerning the continuity of medical care.

The Women and Special Populations Branch and/or Social Workers can be contacted to provide
guidance and resources for reentry needs of transgender inmates.

16. ADMINISTRATIVE REMEDIES

Inmates may use the procedures of the Program Statement Administrative Remedy Program
concerning any issues relating to this policy.

REFERENCES

Program Statements
P1330.18     Administrative Remedy Program (1/6/14)
P4500.11     Trust Fund/Deposit Fund Manual (4/9/15)
P5100.08     Security Designation and Custody Classification Manual (9/12/06)
P5290.15     Intake Screening (3/30/09)
P5310.12     Psychology Services Manual (03/07/95)
P5310.16     Treatment and Care of Inmates with Mental Illness (5/1/14)
P5322.13     Inmate Classification and Program Review (5/16/14)
P5324.08     Suicide Prevention (4/5/07)
P5324.12     Sexually Abusive Behavior Prevention and Intervention Program (6/4/15)
P5325.07     Release Preparation Program (12/31/07)
P5521.06     Searches of Housing Units, Inmates, and Inmate Work Areas (6/4/15)
P5800.15     Correctional Systems Manual (9/23/16)

P5200.04 1/18/2017                                                                                13
     Case 1:25-cv-00286-RCL         Document 11-2        Filed 02/03/25    Page 17 of 18




P6031.04        Patient Care (6/3/14)
P6090.04        Health Information Management (3/2/15)

Federal Regulations
28 CFR part 115

Additional Resources For Clinicians
Diagnostic and Statistical Manual of Mental Disorders (DSM), most current version.
World Professional Association for Transgender Health (WPATH) standards.

BOP Forms
BP-A0148        Inmate Request to Staff
BP-A1110        Case Management Activity (CMA) SENTRY Assignment Consent Form for
                Transgender Inmates

ACA Standards (see Program Statement, Directives Management Manual, sections 2.5 and
10.3)

■ American Correctional Association Standards for Adult Correctional Institutions, 4th
  Edition: 4-4056M, 4-4084M, 4-4084.1M, 4-4133M, 4-4180M, 4-4194M, 4-4278M, 4-
  4281.1M, 4-4281.2M, 4-4281.3M, 4-4281.4M, 4-4281.5M, 4-4281.6M, 4-4281.7M, 4-
  4281.8M, 4-4362M, 4-4371M, 4-4406M.
■ American Correctional Association Performance Based Standards for Adult Local Detention
  Facilities, 4th Edition: 4-ALDF-2A-29, 4-ALDF-2A-32, 4-ALDF-2A-34, 4-ALDF-6B-03,
  4-ALDF-2C-03, 4-ALDF-4C-22M, 4-ALDF-4C-30M, 4-ALDF-4D-22, 4-ALDF-4D-22-1, 4-
  ALDF-4D-22-2, 4-ALDF-4D-22-3, 4-ALDF-4D-22-4, 4-ALDF-4D-22-5, 4-ALDF-4D-22-
  6M, 4-ALDF-4D-22-7, 4-ALDF-4D-22-8, 4-ALDF-7B-08, 4-ALDF-7B-10, 4-ALDF-7B-10-
  1.
■ American Correctional Association Standards for Administration of Correctional Agencies,
  2nd Edition: None.
■ American Correctional Association Standards for Correctional Training Academies: None.


Records Retention
Requirements and retention guidance for records and information applicable to this program are
available in the Records and Information Disposition Schedule (RIDS) on Sallyport.




P5200.04 1/18/2017                                                                           14
     Case 1:25-cv-00286-RCL          Document 11-2        Filed 02/03/25      Page 18 of 18




Attachment A.        Case Management Activity (CMA) SENTRY Assignment
                     Consent Form for Transgender Inmates (BP-A1110)

I agree that Bureau of Prisons staff may enter a CMA assignment on SENTRY concerning my
gender identity.

I understand that this CMA assignment will identify me as transgender to all staff members.

I understand that the purpose of the CMA assignment is to assist staff members in providing
programs and taking measures as described in the Program Statement Transgender Offender
Manual.

I understand that specific medical and mental health information will not be disclosed to all staff
using the CMA assignment; specific medical and mental health information is maintained
separately.

Inmate Name:

Register Number:

Signature:

Date:




P5200.04 1/18/2017                                                                                15
